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                   IN THE UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF TEXAS
                           GALVESTON DIVISION

LOCKWOOD INTERNATIONAL,                 §
INC.,                                   §
      Plaintiff/Counter-Defendant,      §
                                        §
v.                                      §
                                        §
WELLS FARGO BANK, N.A.,                 §
WELLS FARGO SECURITIES, LLC,            §
AND TRUSTMARK NATIONAL                  §
BANK,                                   §    CIVIL ACTION NO. 3:17-CV-00365
     Defendants/Counterclaimants/       §
     Third-Party Plaintiffs,            §
                                        §
v.                                      §
                                        §
LOCKWOOD ENTERPRISES, INC.,             §
LMG MANUFACTURING, INC.,                §
PIPING COMPONENTS, INC.,                §
LOCKWOOD HOLDINGS, INC.,                §
LH AVIATION, LLC,                       §
7807 EAGLE LANE, LLC, AND               §
MICHAEL F. LOCKWOOD,                    §
      Third-Party Defendants.           §

     THIRD-PARTY PLAINTIFFS’ RESPONSE TO MICHAEL F. LOCKWOOD’S
                      MOTION TO EXTEND STAY
                                 AND
              MOTION TO STRIKE UNSWORN DECLARATION




THIRD-PARTY PLAINTIFFS’ RESPONSE TO MICHAEL F. LOCKWOOD’S
MOTION TO EXTEND STAY AND MOTION TO STRIKE UNSWORN DECLARATION           PAGE 1
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THIRD-PARTY PLAINTIFFS’ RESPONSE TO MICHAEL F. LOCKWOOD’S
MOTION TO EXTEND STAY AND MOTION TO STRIKE UNSWORN DECLARATION                                                         PAGE 2
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      Third-Party Plaintiffs Wells Fargo Bank, N.A. and Trustmark National Bank

(collectively, “Lenders”) file their (1) Response to Third-Party Defendant Michael F.

Lockwood’s Motion to Extend Stay, and (2) Motion to Strike the Unsworn Declaration of

Mark Spillard filed in support of Michael F. Lockwood’s Motion to Extend Stay.

                           I. SUMMARY OF RESPONSE

      Michael F. Lockwood (“Lockwood”), who executed a personal guaranty of the

indebtedness of the bankruptcy debtors, seeks to extend the automatic stay to Lenders’

suit against him individually for breach of his personal guaranty. Lockwood seeks to

extend the automatic stay based on two grounds:         (1) the “unusual circumstances”

exception, and (2) a discretionary stay in the interests of justice and the control of the

Court’s docket. Lockwood’s argument fails on both counts for the following reasons:

      Unusual Circumstances Exception. The “unusual circumstances” warranting the

      application of this exception are rare, and certainly do not exist in this instance.

      Lockwood suggests that Lockwood International, Inc.’s (“LII”) indemnity

      obligation to Lockwood under the LII Bylaws amounts to “unusual circumstances”

      which supports an extension of the stay to Lockwood because the Bylaws create a

      potential corporate indemnity by the bankrupt LII. However, the LII Bylaws only

      cover indemnification for proceedings against Lockwood in his capacity as a

      Director, officer or employee of LII; they do not cover proceedings against

      Lockwood in his individual capacity, such as the guaranty case against Lockwood

      individually. Indeed, the very nature of a personal guaranty is the undertaking by

      the individual to answer for the debt of another, in this case, the bankrupt debtors.
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       To somehow shift that individual liability to the corporate borrower via an alleged

       indemnity would effectively negate the very purpose of the personal guaranty, and

       would wholly defeat the protections sought by Lenders when they required

       Lockwood to guaranty the debt. In sum, there is no potential indemnity obligation

       by LII to Lockwood, and the stay should accordingly not be extended to

       Lockwood.

       Importantly also, the extension of the automatic stay to Lockwood based on the

       alleged indemnity must first be addressed and successfully adjudicated by the

       Bankruptcy Court before this Court can extend the automatic stay to the guaranty

       case. Thus, Lockwood's request for a stay of the guaranty litigation is premature.

       Discretionary Stay. Lockwood seeks a discretionary stay based on the same

       indemnification argument made under the “unusual circumstances” exception

       (which fails), as well as an allegation of “unfairness” and an unsupported

       contention that the guaranty litigation "can" affect the administration of the

       bankruptcy estate.     Lockwood’s arguments regarding alleged unfairness and

       impact on the bankruptcy estate should be addressed to the Bankruptcy Court in

       the context of a Section 105 injunction and are not appropriate for consideration

       by this Court since the Bankruptcy Court is responsible for the administration of

       the estate. There is no basis for a discretionary stay in this case.

       Lockwood has not cited to any case law in the Fifth Circuit where a court has

stayed litigation against a non-bankrupt guarantor, and for good reason: there are none.

As discussed below, the courts in the Fifth Circuit have consistently refused to extend the


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automatic stay to guarantors for the simple reason that it would be inequitable to lenders

to deprive them of the bargained for agreement by the guarantor to answer for the debt of

the borrowers.

                         II. BRIEF FACTUAL BACKGROUND

       1.      On February 27, 2017, Lockwood executed a Guaranty, in which he

personally “unconditionally guarantee[d] and promise[d] to pay” Lenders “any and all

Indebtedness of Lockwood Enterprises, Inc., Lockwood International, Inc., LMG

Manufacturing, Inc., and Piping Components, Inc., under the Credit Agreement (as the

term is used in the Guaranty). A true and correct copy of the Guaranty is attached as

Exhibit A. The Guaranty is signed by “Michael F. Lockwood, individually.” The

Guaranty expressly contemplates that Lockwood’s guaranty obligation is separate and

independent from Borrowers’ obligation, and that an action may be brought solely

against Lockwood without the need to include or add the Borrowers. Specifically, the

Guaranty provides as follows in Section 3:

       3. SEPARATE ACTIONS; WAIVER OF STATUTE OF LIMITATIONS;
       REINSTATEMENT OF LIABILITY. The obligations hereunder are
       independent of the obligations of Borrower, and a separate action or actions
       may be brought and prosecuted against Guarantor whether action is brought
       against Borrower or any other person, or whether Borrower or any other
       person is joined in any such action or actions. . . .

       2.      On December 26, 2017, Lenders filed a Third-Party Complaint against

Lockwood and several other guarantors for breach of their respective guaranties. (Docket

No. 5). The Borrowers 1 and Guarantors 2, except for Lockwood, filed voluntary petitions

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    The Borrowers are: Lockwood Enterprises, Inc., Lockwood International, Inc., LMG Manufacturing,
    Inc., and Piping Components, Inc.


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for relief pursuant to Chapter 11 of the United States Bankruptcy Code. Now, Lockwood

requests that this Court extend the automatic stay to Lenders’ suit against Lockwood,

individually, for breach of his Guaranty.

                                III. LEGAL ARGUMENT

A.      Legal Standards Governing the Automatic Stay And Discretionary Stays.

        3.     Section 362(a)(1) of the Bankruptcy Code provides for an automatic stay of

any judicial “proceeding against the debtor.” 11 U.S.C. §362(a)(1). It is well settled that

“the protections of §362’s automatic stay are generally not extended beyond the debtor,

because §362 ‘is rarely … a valid basis on which to stay actions against non-debtors.’”

In re Divine Ripe, L.L.C., 538 B.R. 300, 308 (Bankr. S.D. Tex. 2015) (quoting Arnold v.

Garlock, Inc., 278 F.3d 426, 436 (5th Cir. 2001)); see also Edge Petroleum Operating,

Co. v. GPR Holdings, L.L.C. (In re TXNB Internal Case), 483 F.3d 292, 301 (5th Cir.

2007) (“Section 362(a) operates to stay only actions against bankruptcy petitioners and

their property”); Hamel-Schwulst v. Country Place Mortg. Ltd., 406 F. App’x 906, 911

(5th Cir. 2010) (“it is well-established ‘that the protections of §362 neither apply to co-

defendants nor preclude severance’”); Lynch v. Johns-Mansville Sales Corp., 710 F.2d

1194, 1196 (6th Cir. 1983) (“[i]t is universally acknowledged that an automatic stay of

proceeding accorded by §362 may not be invoked by entities such as sureties, guarantors,

co-obligors, or others with similar legal or factual nexus to the Chapter 11 debtor”).




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     The Guarantors are: Michael F. Lockwood, Lockwood Holdings, Inc., LH Aviation, LLC, and
     7807 Eagle Lane, LLC.


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              (i)    Unusual Circumstances Exception.

       4.     One of the standards used by bankruptcy courts to expand the automatic

stay to cover non-debtors is the “unusual circumstances” standard enunciated by the

Fourth Circuit court in A.H. Robins Co. v. Piccinin, 788 F.2d 994, 999 (4th Circuit 1986):

       “[T]here are cases [under 362(a)(1)] where a bankruptcy court may
       properly stay the proceedings against non-bankrupt co-defendants” but…in
       order for relief for such non-bankrupt defendants to be available under
       (a)(1), there must be ‘unusual circumstances” and certainly “something
       more than the mere fact that one of the parties to the lawsuit has filed a
       Chapter 11 bankruptcy must be shown in order that proceedings be stayed
       against non-bankrupt parties.” This “unusual situation,” it would seem,
       arises when there is such identity between the debtor and the third-party
       defendant that the debtor may be said to be the real party defendant and that
       a judgment against the third-party defendant will in effect be a judgment or
       finding against the debtor. An illustration of such a situation would be a
       suit against a third-party who is entitled to absolute indemnity by the debtor
       on account of any judgment that might result against them in the case. To
       refuse application of the statutory stay in that case would defeat the very
       purpose and intent of the statute.

See also Reliant Energy Servs., Inc. v. Enron Can. Corp., 349 F. 3d 816, 825 (5th Cir.

2003) (quoting A.H. Robins Co. v. Piccinin). The party invoking the stay has the burden

to show that it is applicable. Beran v. World Telemetry, Inc., 747 F. Supp. 2d 719, 722-

723 (S.D. Tex. 2010).

       5.     As more fully discussed below, Lockwood is not entitled to “absolute

indemnity” by LII on account of any judgment against him on his personal guaranty.

Additionally, before this Court can extend the stay to this litigation because of the alleged

indemnity, LII and/or Lockwood must first raise and successfully adjudicate the

indemnity issue in the Bankruptcy Court, which has not occurred here. Accordingly,




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there are no “unusual circumstances” justifying an extension of the automatic stay, and

any stay would be premature.

              (ii)    Discretionary Stay Standard.

       6.     District courts may exercise their discretion to stay a proceeding against

non-bankrupt co-defendants “in the interests of justice and in control of their dockets.”

Wedgeworth v. Fibreboard Corp., 706 F.2d 541, 545 (5th Cir. 1983); Beran, 747

F. Supp. 2d at 723.    However, this discretion is limited, and the proper use of this

authority calls for the exercise of judgment which must weigh competing interests and

maintain an even balance. Wedgeworth, 705 F.2d at 545. In exercising the court’s

discretion, “a stay can be justified only if, based on a balancing of the parties’ interests,

there is a clear inequity to the suppliant who is required to defend while another action

remains unresolved and if the order granting a stay can be framed to contain reasonable

limits on its duration.” GATX Aircraft Corp. v. M/V Courtney Leigh, 768 F.2d 711, 716

(5th Cir. 1985) (citing Wedgeworth, 706 F.2d at 545).

       7.     As more fully discussed below, the indemnity argument cannot support a

discretionary stay, and the other grounds invoked by Lockwood for a discretionary stay −

fairness and effect on administration of the bankruptcy estate − are not properly before

this Court and must be raised by LII in the Bankruptcy Court.




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B.     No “Unusual Circumstances” Justifying an Extension of the Automatic Stay
       to Guarantor Michael F. Lockwood.
              (i)       Lockwood Is Not Entitled To Indemnity From LII.

       8.     The “unusual circumstance” cited by Lockwood is the alleged

indemnification obligation by LII to Lockwood for this guaranty case against Lockwood.

Lockwood contends that because he is the “sole Director and President and CEO of each

of the Debtor Entities and because each of the Debtor Entities is contractually obligated

to indemnify him, a judgment on the Third-Party guaranty claim would be a judgment

against the Debtor Entities.” See Lockwood’s Motion at p. 3.

       9.     At the outset, it should be noted that the Bylaws attached as Exhibit 1 to

Lockwood’s Motion are the Bylaws of LII only. Thus, Lockwood’s statement that “each

of the Debtor Entities is contractually obligated to indemnify him” is incorrect and

misleading. Moreover, Exhibit 1 has a handwritten notation at the top of page 1 which

indicates that the Bylaws were amended on August 2, 2013, yet Lockwood has failed to

include the amendments to the Bylaws, which could possibly involve the indemnification

rights in the Bylaws.

       10.    Notwithstanding these deficiencies, Lockwood’s indemnity agreement fails

for the principal reason that Lockwood is not entitled to indemnity from LII for his

personal contractual obligation under the Guaranty. The indemnification provision in the

Bylaws only covers proceedings against Lockwood in his capacity as a Director, officer,

employee or agent of LII:

       Section 2.   Right to Indemnification. Each person who was or is made a
       party or is threatened to be made a party to or is involved in any


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       Proceeding, by reason of the fact that he or she, or a person of whom he or
       she is the legal representative, is or was a Director, or an officer, employee,
       or agent of the corporation whether the basis of such proceeding is alleged
       action in an official capacity as a Director or as an officer, employee, or
       agent or in any other capacity while serving as a Director, or as an officer,
       employee, or agent of the Corporation, shall be indemnified and held
       harmless by the Corporation to the fullest extent authorized by the Texas
       Business Corporation Act and subject to its limitations and requirements, as
       the same exists or may hereafter be amended (but, in the case of any such
       amendment, only to the extent that such amendment permits the
       Corporation to provide broader indemnification rights than said law
       permitted the Corporation to provide prior to such amendment), and subject
       to Section 1 of this Article VI, against all Expenses, liability, loss,
       judgments, fines, ERISA excise taxes or penalties, and amounts paid or to
       be paid in settlement reasonably incurred or suffered by, such person in
       connection therewith; . . .

(emphasis added).

       11.    As noted above, Lockwood did not sign the Guaranty in his capacity as a

director, officer, employee or agent of LII. He signed it in his individual capacity as

evidenced by the signature line: “Michael F. Lockwood, individually”. The Bylaws by

their express terms only provide indemnification for the personal liability of Lockwood

incurred for acts performed in his capacity as a director, officer, employee or agent of

LII, and not for any liability incurred where Lockwood, the Chief Executive Officer of

the bankrupt parties, acts in his personal capacity.

       12.    This indemnification issue was squarely addressed by the court in

Golisano v. Turek, 2015 U.S. Dist. LEXIS 72559 at *8-9 (W.D.N.Y. Jun. 4, 2015), when

the Court denied guarantor’s request for indemnification from the company for his

guaranty obligation:

       Inasmuch as the action against the defendant Jerry Kessler is based upon a
       personal guaranty, the action is not brought against him “by reason of the


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       fact that he . . . was a director or officer of the corporation” [*9] within the
       meaning of that phrase as employed in Business Corporation Law §722(a).
       Accordingly, the Supreme Court properly denied the motion seeking
       indemnification pendente lite pursuant to Business Corporation Law §724
       (see, Dankoff v. Bowling Proprietors Ass’n, 69 Misc.2d 658, 660,
       331 N.Y.S.2d 109; Spring v. Moncrieff, 10 Misc.2d 731, 173 N.Y.S.2d 86;
       Matter of P.J. Keating Co., 180 B.R. 18, 24-25; see also, 3 White, New
       York Corporations, §722.01, at 7-361 [13th ed]; Bishop, Law of Corporate
       Officers and Directors–Indemnification and Insurance, §3.11, at 66).

Relative to the specific facts of the case, the court in Golisano went on to state:

       It is obvious that Turek would not have signed a guarantee for BlueTie had
       he not been involved with the company in some way. However, Turek
       signed the guaranty as an individual and the guaranty contains no indication
       he was signing it as an agent of BlueTie. In fact, the guaranty makes it
       clear that Turek was motivated to sign the guaranty because he “determined
       that executing this Guaranty is in [his] interest and to [his] financial
       benefit. . . .” Continuing Guaranty 1. Even assuming, for the sake of the
       motion, that he signed the guaranty because he was an officer of BlueTie,
       the guaranty makes it clear that JPMorgan was relying on Turek’s personal
       assets, not BlueTie’s, to back the loan. If Turek incurs liability, should that
       be the outcome of this litigation, it would not be incurred because he was a
       director or officer of BlueTie. In other words, any liability he might incur
       because of the guaranty, would not “arise as a result of the fact that [he is
       an] officer[] and/or director[] of the Corporation.” Blue-Tie By-Law
       Art. [*12] IV. The Court finds that Tilden is directly on point and that
       BlueTie’s By-Law provision does not authorize indemnification here for
       Turek’s personal guaranty.

Golisano, 2015 U.S. Dist. LEXIS 72559 at *11-12; see also In re P.J. Keating Co. 180

B.R. 18, 24-25 (Bankr. D. Mass. 1995) (personal guaranty not executed as an incident to

guarantor’s service as an officer or director, and accordingly not subject to

indemnification provision in by-laws).

       13.    Just like the guaranty in Golisano, the Guaranty here makes clear that "[i]n

[Lockwood's] judgment . . . , [Lockwood's] liability and obligation may reasonably be

expected to benefit [Lockwood] directly or indirectly." Exhibit A, Section 1 at p. 1.


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Additionally, there is absolutely no indication in the Guaranty that Lockwood was

signing it as an agent of the bankrupt debtors. Signing the Guaranty was simply not part

of Lockwood's duties as a Director, officer or employee of LII.

        14.   If the Court were to accept Lockwood’s suggestion that he executed the

Guaranty in a representative capacity (which would arguably trigger an indemnification

obligation), then the result would be that LII itself was guaranteeing its own indebtedness

thus negating any purpose of the Guaranty.       See PPO Check, Ltd. v. Midwestern Reg’l

Med. Ctr., 2007 U.S. Dist. LEXIS 49791 at n. 1 (S.D. Tex. July 10, 2007) (“To treat [the

borrower or debtor] as the guarantor as well as the borrower would negate the purpose of

the guaranty.").

        15.   For this basic reason − no right to indemnify − Lockwood’s reliance on the

case of National Oilwell Varco, L.P. v. Mud King Prod., Inc., 2013 WL 1948766 (S.D.

Tex. May 9, 2013) for the proposition that he is entitled to an extension of the automatic

stay based on indemnification is misplaced.             Mud King was a trade secret

misappropriation case where several defendants were sued in their capacities as officers

and directors of the debtor entity. The case did not involve any personal guaranty by any

of the individual defendants. The individual defendants sought a stay of the case against

them based on the "unusual circumstance" standard because the claims against them were

the same as the claims against the bankruptcy estate and the indemnification expenses

would be to the detriment of other creditors. The defendants also sought a discretionary

stay.




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       16.    Recognizing that the scope of the §365 stay was principally within the

bankruptcy court’s bailiwick, the district court exercised its discretion to impose a

temporary stay in the interest of justice because the limited record before the court

indicated that the bylaws may create potential corporate indemnity obligations to one or

more of the individual defendants, and the matter needed to be fully adjudicated by the

bankruptcy court. Mud King, 2013 WL 1948766 at 19-20.

       17.    Here, there is no possibility that the Bylaws create a potential corporate

indemnity obligation by LII to Lockwood for this personal guaranty litigation. Thus,

there is absolutely no basis or need for any kind of stay, discretionary, temporary or

otherwise.

              (ii)   LII Must First Seek Extension of the Automatic Stay to Lockwood in
                     the Bankruptcy Court.

       18.    Lockwood’s request in this Court to extend the automatic stay to him

personally, also fails because the issue must first be addressed and successfully

adjudicated by the Bankruptcy Court under 11 U.S.C. §105. See P.O’B Apollo Tacoma,

L.P. v. TJX Cos. (In reHouse2home, Inc.), 2002 U.S. Dist. LEXIS 18702 (N.D. Tex.

2002); see also Mud King, 2013 WL 1948766 at 17 (recognizing that the scope of the

§365 stay is principally within a bankruptcy court's bailiwick); Fid. & Deposit Co. of Md.

v. Tri-Lam Co., 2007 U.S. Dist. LEXIS 26293 at *7 (W.D. Tex. Apr. 9, 2007) ("If

[Defendants] wish to avail themselves of the A. H. Robins exception, that request should

be addressed to the bankruptcy court, not this court.").




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       19.    P.O’B involved a suit on a commercial lease agreement and a related

guaranty of the lease. Relying on Arnold v. Garlock, Inc., 278 F.3d 426, the guarantor

sought a stay of the guaranty litigation on the grounds that a contractual indemnity by the

bankruptcy tenant in favor of the guarantor in connection with any liability arising under

the lease, created such an identity of interest that the automatic stay should apply. P.O’B,

2002 Bankr. LEXIS 962 at *14.

       20.    At the outset, the court noted that “[i]f the removed action against

Defendant was based solely on its guaranty of the Debtor’s debt, it appears that the

Debtor’s automatic stay would not extend to Defendant in this action.” P.O’B, 2002

Bankr. LEXIS 962 at *13. The court then went on to analyze Arnold v. Garlock, Inc. in

the context of the indemnity claim by the guarantor, and concluded that the automatic

stay would not apply to the indemnification claim raised by the guarantor without a

successful adversary proceeding filed by the debtor in the home Bankruptcy Court, under

11 U.S.C. Section 105, extending the automatic stay. The court specifically stated:

       Under Arnold v. Garlock, Inc., 278 F.3d 426, it appears that if [tenant] filed
       an application for an 11 U.S.C. §105 injunction in the home Bankruptcy
       Court, then, depending on the record made, Arnold v. Garlock could be
       some authority to extend the stay to this litigation because of the indemnity.

Following further analysis, the Court concluded that:

       It appears that the better construction of the case law is that the automatic
       stay does not apply to an indemnification claim of the nature involved
       herein, without a successful adversary proceeding being filed in the home
       Bankruptcy Court, under 11 U.S.C. §105, extending the automatic stay.
       11 U.S.C. §362(a)(1); Wedgeworth v. Fibreboard Corp., 706 F.2d 541.
       Arnold v. Garlock, Inc. states that “a bankruptcy court may invoke §362 to
       stay proceedings against nonbankrupt co-defendants where” such close
       identity exists. Arnold v. Garlock, Inc., 278 F.3d 426 at 436. It may be


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       quibbling with the Fifth Circuit’s use of words, but invoking §362 appears
       to contemplate something more than passive reliance on a stay that is
       automatic. Most of the cases discussing extension of the stay are cases
       where a §105 adversary is involved. See also the Fifth Circuit’s caveats
       with respect to bankruptcy injunctions generally in Homsy v. Floyd (In re
       Vitek, Inc.), 51 F.3d at 538 n.39; see also Davis v. Life Investors Ins. Co. of
       Am., 2002 U.S. Dist. LEXIS 14383, 2002 WL 1784171 at *5, in footnote 2
       hereinabove.

Id. at 20-21.

       21.      Since, LII has not sought any relief in the Bankruptcy court to extend the

automatic stay to the guaranty litigation in this case, there is no basis for this Court to

stay the litigation. The requirement that the debtor first seek relief in the bankruptcy

court, is consistent with the policy that the automatic stay is for the benefit of the

bankrupt debtor and not for the benefit of non-bankrupt parties.

C.     No Discretionary Stay is Warranted.

       22.      Lockwood also asks this Court to enter a discretionary stay of the guaranty

litigation for the following three reasons: (1) same indemnity argument made under its

“unusual circumstances” request for the extension of the Section 362 automatic stay

(which fails as more fully discussed above), (2) alleged unfairness to Lockwood, and (3)

the guaranty litigation can allegedly affect the administration of the bankruptcy estate.

       23.      First, relative to indemnity, Lockwood’s failed “unusual circumstances”

exception argument cannot form the basis for the issuance of a discretionary stay by this

Court. See Tri-Lam Co., 2007 U.S. Dist. LEXIS 26293 at *9 (court declined to base a

discretionary stay on A.H. Robins’ “unusual circumstance” exception). Lockwood once

again cites to Mud King to support his discretionary stay request based on the



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indemnification argument. See Lockwood’s Motion at p. 9. However, unlike in Mud

King, here there is unquestionably no right to indemnity which would support a

discretionary stay to allow the Bankruptcy Court to adjudicate the indemnity issue.

Assuming arguendo that Lockwood had a viable indemnity argument (which he does

not), as discussed above, the Bankruptcy Court must first successfully adjudicate this

issue in Lockwood’s favor before this Court can issue a discretionary stay. Neither LII

nor Lockwood have initiated any proceeding in the Bankruptcy Court regarding the

indemnity issue, and it is very possible that LII and Lockwood may never initiate such a

proceeding given the weakness of the indemnity claim for Lockwood’s personal guaranty

liability. Thus, Lockwood is effectively asking for an indefinite discretionary stay, which

should be denied.

       24.    Second, relative to the allegation of “unfairness” Lockwood has not cited

any authority in support of this argument. What is unfair and inequitable in this instance,

is Lockwood’s attempt to shrug his personal liability to Lenders under the guaranty and

his futile effort to benefit from the bankruptcy filing by the debtors to the detriment of the

Lenders. Had Lockwood truly wanted a stay of the guarantor litigation against him, he

could have certainly filed for bankruptcy protection individually. It is important to note

here also, that the bankrupt parties have engaged a Chief Restructuring Officer - Mr.

Mark Shapiro with Glass Ratner - to assist with the re-organization efforts of the

bankrupt companies.      Thus, Lockwood’s suggestion that the burden somehow falls

entirely on him, is misleading and untrue.




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       25.      Third, relative to the argument that the guaranty litigation “can” affect the

administration of the bankruptcy estate, Lockwood’s summary argument is not properly

before this Court. This argument must be raised in the Bankruptcy Court before the

bankruptcy judge in charge of administering the bankruptcy estate. See In re Divine

Ripe, LLC, 538 B.R. at 310 (bankrupt debtor filed motion to extend automatic stay to sole

member of debtor in bankruptcy court, which was denied because “the scant evidence

and testimony taken at the hearing….do not include any hints of contributions from sole

member); see also In re Babcock & Wilcox Co, 2001 U.S. Dist. LEXIS 69792 at *21

(E.D. La. May 18, 2001) (affirming bankruptcy court’s determination that the suit against

non-bankrupt defendant will not affect debtor’s ability to reorganize where no evidence

offered that suit would affect the likelihood of reorganization). Thus, this Court cannot

properly address the administration of the bankruptcy estate argument.

       26.      Lockwood cites to the Fourth Circuit A.H. Robins decision for the very

broad proposition that an action by a creditor against a guarantor will affect the

administration of the bankruptcy estate. See Lockwood Motion at pages 10-11. A

careful review of this quote by Lockwood reveals that the A.H. Robbins court was

discussing the 1983 decision in In re Brentano while analyzing the bankruptcy court’s

jurisdiction.    In re Brentano, 27 B.R. 90 (Bankr. S.D.N.Y. 1983).            Notably and

importantly here, the In re Brentano decision was overturned in 1984 on appeal to the

Southern District of New York, and the appellate court concluded that the automatic stay

had been improperly extended to the non-bankrupt guarantor, and the bankruptcy court

should not have deprived the creditor from its contractually bargained for right to seek


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judicial redress directly against the guarantor. See In re Brentano, Inc., 36 B.R. 90, 92

(S.D.N.Y. 1984). Thus, Lockwood’s summary argument relating to the administration of

the bankruptcy estate (which in the first instance is not properly before this Court), is

belied by the court’s subsequent overruling of the extension of the automatic stay to the

non-bankrupt guarantor.

       27.    In sum, no discretionary stay is warranted here, and the Court should allow

the litigation against the Lockwood to proceed.

D.     Guarantors Are Not Afforded the Protections of the Automatic Stay.

       28.    Setting aside the "unusual circumstances" and "discretionary stay"

arguments (which must fail), it is well settled and established in the Fifth Circuit that the

automatic stay does not extend to non-bankrupt guarantors. See Browning Seed, Inc. v.

Bayles, 812 F.2d 999, 1004 (5th Cir. 1987) (“Bankruptcy law likewise permits a

guarantor to be sued in state court while pending bankruptcy proceedings against the

principal debtor preclude suit in state court against the debtor.”); GATX Aircraft Corp.,

768 F.2d at 717 (appellate court reversed district court’s extension of §362 stay to non-

debtor guarantors, reasoning that “[to prevent or delay GATX from enforcing its rights in

a situation foreseen by it and contractually provided for with each guarantor would be …

legally inequitable”); P.O’B Apollo, 2002 U.S. Dist. LEXIS 18702 at *13 (“If the

removed action against Defendant was based solely on its guaranty of the Debtor’s debt,

it appears that the Debtor’s automatic stay would not extend to Defendant in this

action.”); J.A. Davis Props., LLC, 2014 U.S. Dist. LEXIS 67274 (W.D. La. May 15,

2014) (the mere fact that the co-defendant has guaranteed the bankrupt party’s obligation


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to the plaintiff is insufficient to warrant a stay against the co-defendant); Weaver v.

Texas. Capital Bank N.A., 660 F.3d 900 at n. 3 (5th Cir. 2011) (“Further, as a guarantor,

Weaver is not entitled to the protections of a debtor’s automatic stay.”).

       29.    Furthermore, since recognizing the "unusual circumstances" exception in

A.H. Robins, the Fourth Circuit has retreated somewhat and has held that the stay should

not be applied to actions against a surety or guarantor of the debtor. See In re Calpine

Corp., 365 B.R. 401, 408 (B.R. S.D.N.Y. 2007) (citing Credit Alliance Corp. v. Williams,

851 F.2d 119 (4th Cir. 1988) (refusing to extend bankruptcy stay to guarantor of note

executed by bankrupt corporation, despite evidence that the guarantor was entitled to

bring claims for contribution through bankruptcy proceeding)); see also Cook v. Blazer,

2016 U.S. Dist. LEXIS 79609, at 3-4 (W.D. Va. June 20, 2016) (compiling cases)). In

holding that “[t]here is nothing “unusual” about [a] guaranty agreement that would permit

the guarantor to invoke the automatic stay”, the Fourth Circuit reasoned that “[t]he very

purpose of a guaranty is to assure the [creditor] that in the event the [debtor] defaults, the

[creditor] will have someone to look to for reimbursement. Credit Alliance Corp., 851

F.2d at 121-22; see also Widmer Eng’g, Inc. v. Five-R Excavating, Inc., 2016 Pa.

Commw. Unpub. LEXIS 895 at *19 (Commw. Ct. Pa. Aug. 4, 2016) (refusing to extend

automatic stay despite indemnity agreement because “a primary rationale for refusing to

extend the automatic stay to nonbankrupt third parties is to ensure that creditors obtain

‘the protection they sought and received when they required a third party to guarantee the

debt.’”).




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       30.    Thus, the Fifth Circuit, as well as the Fourth Circuit (which Lockwood

relies heavily upon for the extension of the automatic stay), clearly hold that the

automatic stay does not apply to guarantors. Accordingly, this Court should not stay the

guarantor litigation against Lockwood.

                       IV. MOTION TO STRIKE UNSWORN
                       DECLARATION OF MARK SPILLARD

       31.    In a transparent attempt to somehow transform Lockwood’s personal

guaranty to an alleged indemnifiable event under the LII Bylaws, Lockwood has attached

the ‘Unsworn Declaration of Mark Spillard (the “Declaration”), which contains irrelevant

and hearsay testimony. Spillard, a financial consultant to debtor LII, purports to testify as

to the alleged reason(s) for the Lenders’ request for the Guaranty from Lockwood, and

Spillard’s alleged “push back” to that request. Lockwood then catapults this hearsay and

irrelevant testimony to an argument that “[w]hile the guaranty is a personal obligation of

Lockwood, its existence is “by reason of the fact” Lockwood was both a Director, Officer

and employee of the Debtor at the time it was given.” Lockwood’s Motion at page 8.

       32.    Lockwood’s transparent attempt to track the language from the LII Bylaws

is faulty, and does not somehow transform the guaranty obligation into an indemnifiable

obligation under the Bylaws. The Bylaws provide for indemnification to “[e]ach person

who…is made a party…in any Proceeding, by reason of the fact that he or she… is or

was a Director, or an officer, employee…” The alleged “reason” for the execution of the

guaranty is completely irrelevant and of no consequence to the nature of the guaranty - a

personal contractual obligation by Lockwood - and it does not somehow transform this



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personal guaranty litigation to a suit “by reason of the fact” that Lockwood was a

director. As noted by the Court in Golisano v. Turek , the guarantor, a director of the

company, would not have signed a guaranty for the company's debt had he not been

involved with the company in some way. However, the status of the individual guarantor

vis-à-vis the company does not transform the guaranty into anything other than a personal

guaranty which is not subject to indemnification under the bylaws. See Golisano, 2015

U.S. Dist. LEXIS 72559 at *11.

      33.    Spillard’s statements in paragraphs 3, 4 & 5 of the Declaration should be

stricken and not considered by the court because they contain inadmissible hearsay (see

statements in paragraph 4 concerning Jennifer Norris’ alleged statements to Spillard, and

the statements in paragraph 5 concerning Spillard’s alleged statements to Jennifer

Norris). Moreover, as noted above, any alleged evidence concerning the motives for the

Guaranty are completely irrelevant and inconsequential to the nature of the Guaranty – a

contractual personal obligation by Lockwood that is not indemnifiable under the LII

Bylaws. Thus, the Declaration should be stricken from the record and not considered by

the Court.

                         V. CONCLUSION AND PRAYER

      For these reasons, Third-Party Plaintiffs Wells Fargo Bank, N.A. and Trustmark

National Bank respectfully request that the Court deny Third-Party Defendant Michael F.

Lockwood’s Motion to Extend Stay and allow the guarantor litigation against Third-Party

Defendant Michael F. Lockwood to proceed. Further, Lenders respectfully request that




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the Court strike the Unsworn Declaration of Mark Spillard as irrelevant and

impermissible hearsay.

                                         Respectfully submitted,

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                                         NATIONAL BANK.


                            CERTIFICATE OF SERVICE

      I hereby certify that on the 9th day of February, 2018, a copy of the foregoing, and

all exhibits and attachments thereto, was served on all counsel of record via the Court’s

ECF system.


                                         /s/ Yasmin Atasi
                                         Yasmin Atasi




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